

Matter of Membrino (2024 NY Slip Op 01969)





Matter of Membrino


2024 NY Slip Op 01969


Decided on April 11, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 11, 2024

PM-60-24
[*1]In the Matter of Marcia A. Membrino, an Attorney. (Attorney Registration No. 1900497.)

Calendar Date:April 1, 2024

Before:Garry, P.J., Egan Jr., Clark, Aarons and McShan, JJ.

Marcia A. Membrino, Oneonta, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Marcia A. Membrino was admitted to practice by this Court in 1984 and lists an address in Oneonta, New York with the Office of Court Administration. Membrino now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Membrino's application.
Upon reading Membrino's affidavit sworn to February 27, 2024 and filed February 29, 2024, and upon reading the March 29, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Membrino is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Egan Jr., Clark, Aarons and McShan, JJ., concur.
ORDERED that Marcia A. Membrino's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Marcia A. Membrino's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Marcia A. Membrino is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Membrino is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Marcia A. Membrino shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








